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Date: 3/l l/2015
From: Tariq Khraishi, PhD
Subj ect: Expert report on the injury case of Nedra Denison

This is an expert witness report submitted by Professor Tariq Khraishi on the injury case of
Nedra Denison. On February l2, 2011, in Apache Junction Arizona at the Superstition Butte
Mobile Home Park, Nedra Denison was attempting to exit the 2009 Seneca (VIN#
lGBG541957F424211), originally purchased February l, 2010 when the RV steps (step
#902509000 ser. 0707273/62) collapsed causing her to fall. She suffered injuries including; acute
distal radius fracture (broken right arm) and ankle injury (strain, sprain).

Tariq Khraishi is an expert in materials science/engineering He is also an expert in mechanical
design mechanics of materials, and manufacturing/fabrication techniques His expertise stems
from research and teaching activities in the above.

TK has examined the broken steel steps. The fracture occurred in the area next to a welding spot.
This is a heat~af_fected zone. This indicates either a defective; craftsmanship/fabrication and/or
materials For example it could indicate an embrittled material with marteniste formation in the
steel (Note: martensite is a very brittle phase of steel). Also. it could indicate improper heat
treatment of the weld area after welding to avoid brittle spots (i.e. easily-fracturable spots).

Take a look at the broken steps shown in Figure l. On the left-side of the picture, there is a top
link that broke and caused Nedra’s losing balance. The link that broke is highlighted in a blue
circle (Figure 2). This link links the top step with another long arm in this mechanism If you are
looking at steps from outside while standing in front of them, the broken link would be on the
left. Figure 3. which is a zoomed in image, shows the extent of the fracture into the width and
thickness of the link. The loss of stiffness in the structure due to this large crack caused Nedra to
lose her balance and fall.

Upon further examination of the right-side of the steps that did not have this large crack, it
appears that the welding process utilizing a torch caused an ingress or groove (i.e. a smaller
crack) in the link. This can be clearly seen in Figure 4. Such a small crack/ingress due to this
faulty welding process also existed on the left-side of the steps and ended up enlarging to the
extent that structural stiffness was lost and Nedra fell down ( as seen in Figure 3 Which shows
different surface colors for the ingress/small crack which is rusted/oxidized from being exposed
to air for a long time versus the more shinier surface, i.e. less rusted/oxidized, representing the
large crack that grew due to this initial ingress and which is not as old as the initial ingress).
These links are highly loaded parts of the mechanism as evidenced by the strong peeling of
paints in these exact spots, and this fact combined with the initial cracks/ingresses caused a
bigger crack that caused the accident in my technical and experiential iudgement.

This fracture caused the steps to loose their horizontal leveling ( even by a few degrees) and

therefore were directly responsible for unexpecting Nedra losing her balance and falling ( and
thus getting badly iniured), i.e. destabilizing this structure/steps

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This is not something we would expect to see at this stage in the life of the product No inflected
damage was observed to indicate improper use of the product. This again points to the defective
craftsmanship/fabrication that caused the fracture Attached below (last page) is a product detail
and photographs of the fracture in the steps

ln summary it is my technical opinion and lam confident in it, based on established material
science and engineering principles* and my careful examination of the evidence steps, that the
steps were defective in craftsmanship/fabrication and/or materials used in the manufacturing
process

* Fracture and crack mechanics phase formation in steels and relationship to heat treatment and
cooling rates See the textbook by William D. Callister, Jr. and Dayid G. Rethwisch, “l\/laterials
Sceince and Engineering: An lntroduction”, John Wiley & Sons, Inc. 2010. Also, “Fracture
Mechanics: Fundamentals and Applications” by T.L. Anderson, CRC Taylor & Francis Group,
2005.

 

Figure l. Picture of the broken steps

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Figure 2. Picture of the steps with broken link in a blue circle

